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                                  United States Bankruptcy Court
                                          Southern District of Alabama
                                              Case No. 13−00240
                                                      Chapter 7
   In re:

      Donna Fuller Little
      aka Donna K. Fuller, aka Donna Little
      PO Box 266
      Pinson, AL 35126
      Social Security No.:
      xxx−xx−6466


            ORDER SUSTAINING OBJECTION TO CLAIM IN CHAPTER 7 CASE
      This matter is before the Court upon the objection by debtor(s) or Chapter 7 trustee to ECF claim

   number 4 filed by creditor Nationstar Mortgage, Llc.

      Either the creditor did not file a written response to the objection within the time permitted or the parties

   have agreed to the claim's treatment. Upon consideration, it appears to the Court that the objection

   should be sustained.


      It is thus ORDERED that the objection is sustained and the claim is disallowed completely.




   Dated: 3/25/16




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                                   Sustaining Objection To Page 1 of 1
